        16-13607-smb                      Doc 76             Filed 03/10/17 Entered 03/10/17 17:47:35                                         Main Document
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      Fill   in this informatien to identify the case

       Debtor         Wond,j’Work, Inc.

       unIted Slates Bankruptcy Court for (he: Soclhorn Oislrici                District of NV
                                                                                          (Slate)
      Case number       16-13607 IMKVI
      (like own)

                                                                                                                                                 a Check    f this is an

     Official Form 206E1F                                                                                                                           amended filing

     Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                           12115
    Be as complete and accurate as possible. Use Part I for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
    unsecured claims. List the other party to any executory contracts or unexpired leases that could result In a claim. Also list executory contracts
    on Schedule .418: Assets - Real and Persona! Property (Official Form 206A1B) and on Schedule G: Executory Contracts and Unexpired Leases
    (Official Form 206G). Number the entries In Parts I and 2 In the boxes on the left, If more space is needed for Part I or Part 2, fill out and attach
    the Additional Page of that Part included in this form.

    ~            List All Creditors with PRIORITY Unsecured Claims

    I. Do any creditors have priority unsecured claims? (See Ii U.S.C.                 § 507).
       a  No. Go to Part 2.
       U Yes. Go to line 2.
    2. List In alphabetical order all creditors who have unsecured claims that are entitled to priority In whole or In part. if the debtor has more than
       3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part I.

                                                                                                                     Total claim                Priority amount
       Priority creditor’s name and mailing address                 As of the petition filing date, the claim Is:   $______________________     $_________________

       _________________                        _________           Chock alt that apply.
                                                                    U Contingent
                                                                    U Unliquldated
      __________________________________________________            U Disputed
       Date or dates debt was incurred                              Basis for the claim:


      Last 4 digits of account                                      is the claim subject to offset?
      number                                                        U No
      Specify Code subsection of PRIORITY unsecured                 L.J   Yes
      claim: 11 USC, § 507(a) ()

      Priority creditor’s name and mailing address        As of the petition filing date, the claim Is:             $______________________     S________________
      ___________________________________________________ Check alt that apply,
                                                          U Ccntingent
                                                          U Unhquidated
•     _____________________________________________       U Disputed
      Date or dates debt was incurred                               Basis for the claim:


      Last 4 digits of account                                      is the claim subject to offset?
      number                                                        U No
      Specify Code subsection of PRIORITY unsecured                 U     Yes
      claim: II U.S.C. § 507(a) f,..,.,,,,)

      Priority creditor’s name and mailing address                  As of the petition filing date, the claim is:   $______________________     $_________________

      ______________________________________________                Check alt that apply.
                                                                    U Contingent
                                                                    U Untiquidaled
      _____________________________________________                 U Disputed
      Date or dates debt was incurred                               Basis for the claim:


      Last 4 digits of account                                      is the claim subject to offset?
      number                                                        U No
      Specify Code subsection of PRIORITY unsecured                       Yes
      claim: 11 U.S.C.    § 507(a)L.,_,j


    Official Form 206E/F                                     Schedule ElF: Creditors Who Have Unsecured Claims                                       page 1 of
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  Debtor         WonderWork, Inc.                                                               Case number titkn~wol 16-I 3607 (MKV)
                 Nams


•~pm~       Additional Page

I Copy this page If more space Is needed Continue numbering the Ijnes sequentially from the
  previous page If no additional PRIORITY creditors exist, do not fill out or submit this page            Total claim                       Priority amount


     Priority creditor’s name and mailing address                                                                                           $_______________


                                                        As of the petition filing date, the claim is:
                                                        Check all that apply.
                                                        U    Contingent
                                                        U    Untiquidated
                                                        U    Disputed

     Date or dates debt was incurred                     Basis for the claim:


     Last 4 digits of account                           Is the claim subject to offset?
     number _.~,__                                      U No
     Specify Code subsection of PRIORITY unsecured      U   Yes
     claim: ii u.s.c. § 507(a) L,,,,,J


     Priority creditor’s name and mailing address                                                       $______________________         $_________________


                                                       As of the petition tiling date, the claim Is:
                                                        Check all that apply.
                                                        U   contingent
                                                        U   Untiquidated
                                                        U   Disputed

     Data or dates debt was incurred                    Basis for the claim:


    Last 4 digIts of account                           Is the claim subject to offset?
    number _,,,,                                       U No
    Specify Code subsection of PRIORITY unsecured      U    Yes
    claim: 11 U.S.C. § 507(a) L,.,,,,J

    Priority creditor’s name and mailing address                                                        $______________________         $________________

                                                       As of the petition tiling date, the claim Is:
                                                       Chock alt that apply,
    __________           ___________________________   U    contingent
                                                       U    Unhquidated
                                                       U    Disputed

    Date or dates debt was incurred                     Basis for the claim;


    Last 4 digits of account                           Is the claim subject to offset?
    number                                             U No
    Specify code subsection of PRIORITY unsecured      U    Yes
    claim: U U.S.C. § 507(a) f_,,_,,_,)    -



    Priority creditor’s name and mailing address                                                        $______________________         $
                                                       As of the petition filing date, the claim is:
                                                       Check al/that apply.
                                                       U    contingent
    _____________________________________________      U    Unhquidated
                                                       U    Disputed

    Date or dates debt was incurred                    Basis for the claim:


    Last 4 digIts of account                           is the claim subject to offset?
    number                                             U No
    Specify Code subsection of PRIORITY unsecured      C    Yes
    claim: U U.S.C. § 507(a) (,,,,,,,,,,,,,)



  Official Form 20SF/F                         Schedule F/F: Creditors Who Have Unsecured Claims                                                       page   —   of_
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 Debtor         WonderWork, Inc.                                                                      Case numberlgkn,wnl 16-13607 (MKV)
                Nan,


•~pn.’-m List All Creditors with NONPRIORITY Unsecured Claims

 3. List in alphabetical order all of the creditors with nonpriority unsecured claims. if the debtor has more than 6 creditors with nonpriority
    unsecured claims, fill out and attach the Additional Page of Part 2.
                                                                                                                             Amount of claim
    Nonprtority creditor’s name and mailing address                        As of the petition filing date, the claim is:     18 839 14
    Action Mailers                                                          Check all that apply.                          $___________________________________

                                                                            ci   Contingent
    90 Commerce Drive                                                       ci   Unhquidated
                                                                            ci   Disputed
    Aston, PA 19014
                                                                            Basis for the claim: Services rendered

   Date or dates debt was incurred             Aug 2016                    is the claim subject to offset?
                                                                                No
   Last 4 digits of account number                                         ci Yes
   Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim Is:    845 500.00
    Bill & Ann Ziff Foundation                                             Chock all that apply.                           $_______________________________

                                                                           O Contingent
    350   Park Avenue, 4th Floor                                           ci Unliquidaled
                                                                           ci Disputed
    New York, NY 10022
                                                                           Basis for the claim: Loan

   Date or dates debt was incurred             May    2014                 Is the claim subject to offset?
                                                                                No
   Last 4 digits of account number                                         ci Yes
   Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:    641 320 07
    Brian Mullaney                                                         Chock all that apply.                           $___________________

                                                                           ci Contingent
    1   Sumner Lane                                                        ci Unliquldated
                                                                           ci Disputed
    Belmont, MA 02478
                                                                           Basis for the claim: 2016 Salary/2016 Bonus/Unreimbursed Expenses
   Date or dates debt was incurred             2016                        Is the claim subject to offset?
                                                                           • No
   Last 4 digits of account number                                         ci Yes
   Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:   ~48,75D.00
   CDR Fundraising Group                                                   Check all that apply.
                                                                           ci    Contingent
    16900   Science Drive, Suite 210                                       ci    Unhquidaied
                                                                           ci    Disputed
   Bowie, MD 20715
                                                                           Basis for the claim: Services rendered

   Date or dates debt was Incurred             Oct 2016                    is the claim subject to offset?
                                                                           • No
   Last 4 digIts of account number                                         ci Yes
   Nonpriorlty creditor’s name and mailing address                         As of the petition filing date, the claim is:   ~4.949.13
   CENVEO                                                                  Chock all that apply.
                                                                           ci Contingent
   Commercial Env. Products                                                ci Unliquldated
                                                                           ci Disputed
   PC Box 802035, Chicago, IL 60680-2035
                                                                           Basis for the claim: Services rendered
   Date or dates debt was incurred            Oct. 2016                    is the claim subject to offset?
                                                                           • No
   Last 4 digits of account number                                         ci Yes
   Nonprbrity creditor’s name and mathng address                           As of the petiflon fifing date the dathi is      2171922
   Color Tree Group                                                        Check all that apply.
                                                                           ci    Contingent
   8000   Villa Park Drive                                                 ci    Unliquidated
   Henrioo, VA 23228-6500                                                  ci Disputed
                                                                           Basis for the claim:     Services rendered
  Date or dates debt was Incurred             Sept. 2016                   is the claim subject to offset?
                                                                           • No
  Last 4 digIts of account number                                          ci Yes


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   Debtor        WonderWork, Inc.
                ____________________________________________________________________                      Casonumberi~n~ni16~13607 (MKV)
                Ne me


  Part 2    Additional Page


   Copy this page only if more space Is needed, Continue numbering the linos sequentially from the                               Amount of claim
   previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

      Nonpriority creditor’s name and mailing address                          As of the petition filing date the claim is:    6305 63
      Communications Corporation of Arnenoa                                    Chackall If at apply                           $_____________
                                                                               O   Contingent
                                                                               0   unkquidaied
       13195 Freedom Way                                                       0   Disputed
                                                                               O   Liquidated and neither contingent nor
       Boston, VA 22713                                                            disputed
                                                                               Basis for the ciaim Services rendered

      Date or dates debt was Incurred               NOV     2016              Is the ciaini subject to offset?
                                                                               S No
      Last 4 digits of account number                                          0 yes

      Nonpriority creditor’s name and malhng address                          As of Uie petition filing Jata the claim is      1 140.93                   ——


      Copilevitz        & Canter, LLC                                         Check a/filial apply                            $________________________
                                                                              O Contingent
      310 West 20th St., Suite 300                                            ~
      Kansas City, MO 64108                                                   Basis for the ciaim Services rendered


      Date or dates debt was incurred              Dec.     2016              is the claim subject to offset?
                                                                              S No
     Last 4 digits ofaccount number                                           0 ~es

     Nonpriority creditor’s name and maiiing address                          As of the petition filing date, the claim is     7,078 69             ——


      Corporate Press, Inc.                                                   Chock all that apply                            $__________________________
                                                                              O Contingent
      9700 Philadelphia Court                                                 8    ~*ufti;ted
      Lanham, MD 20708                                                        Basis for the claim Services rendered


     Date or dates debt was incurred               Nov     2016               is the oiaim subject to offset?
                                                                              S Na
     Last4 digits of account number                                           0 yes

j~JNonpr1oritycreditor’snarneandrnathng          ~                            ~                                                106,833.33
      Detter Family Foundation                                                Chock all that apply                            S______________________
                                                                              O Contingent
      11519 Aerie Lane                                                        8    ~tad:ted
      Naples, FL 34120                                                                                L
                                                                              Basis for the claim         oan
     Date or dates debt was incurred              Aug.     2013               is the claim subject to offset?
                                                                              S No
     Last4 digits of account number                                           0 Yes



     Development Resources, Inc                                              Chock all that apply                             $______________________

                                                                             O Contingent
     1820 N Fort Meyer Drive, Suite 702                                      ~
     Arlington, VA 22209                                                     Basis for the claim Services rendered


     Dote or dates debt was incurred              Nov.     2016              is the claim subject to offset?
                                                                             SNo
     Last 4 digits of account number                                         0 Yes



   Official Form 2062/F                             Schedule 2/F Creditors Who Have Unsecured Claims                                               page   —   of_
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   Debior        WonderWork, Inc.                                                                       Case number   tiMe,)   16-13607 (MKV)
                 Slam.         -~



 ItFIiW4      Additional Page

   Copy this page only If more space Is needed. Continua numbering the lines sequentially from the
   previous page. If no additional NONPRIORITY creditors exist, do not nil out or submit this page.                              -     Amount or claim


      Nonpriority creditor’s name and maiiing address                         As of the petition till ng date, the claim is:
      Direct Mall Processors, Inc.                                            Check all ihat apply.                                  ~11,200.96
                                                                              U Contingent
                                                                              U Uniiquidated
       1150 Conrad Ct.                                                        O Dispuied
                                                                              U   Liquidated and neitiier contingent nor
       Hagerstown, MD 21740
      ____________________________________________________________________      disputed
                                                                                                   Services rendered
                                                                             Basis for the ciaim: ________________________
      Date or dates debt was incurred               Sept. 2016               Is the ciaim subject to offset?
                                                                                  No
      Last 4 digits of account number               .._ ——                   o    Ye,

      Nonpriority creditor’s name end mailing address
                                                                             As of the petition fill ng date, (ho claim is:      ~4997.49
      DM1 Data           Management,         Inc.                            Check all that apply.
                                                                             O Contingent
                                                                             0 iintquidaled
      P0 Box 846
     ______________________________________________________                  0 Dispuled
      Stoneviille, NC 27048
                                                                                                  Services rendered
                                                                             Basis forthe claim: ________________________
     Date or dates debt was incurred                Dec. 2016                is the claim subject to offset?
                                                                                  No
     Last 4 digits of account number                —— ——
                                                                             O Yes

     Nonpriorlty creditor’s name and ma lUng address
                                                                  As ofthe petition flUng date, the tiaim is:    ~8881.02
      Hana     Fuchs                                              Check at thaI apply,
                                                                  O Contingent
      60 Riverside Drive, Apt. 7F                                 O Unlrquidated
     ____________________________________________________________ 0 Disputed
      New York, NY 10024
                                                                                         Unreimbursed expenses
                                                                  Basis for the cialni: ________________________
     Date or dates debt was Incurred                2016                     Is the ciaim subject to offset?
                                                                             • No
     Last 4 digits of account number                                         U Yos

     Nonpriority creditor’s name and mailing address
      HelpMeSee, Inc.
                                                                             As of the petition liii ng date the claim is:
                                                                             Chock aft that apply.
                                                                                                                                 ~16,059,833.50
                                                                             • Contingent
      20 West 36th St., Fl. 4                                                U Unhquidated
     ______________________________________________________                  •  Disputed
      New York, NY 10018
                                                                                                   Loan
                                                                             Basis for the claim: ________________________
     Date or dates debt was incurred                2016                     is the claim subject to offset?
                                                                             • No
     Last 4 digIts of account number                                         0 yes

~NonprIorItycredito?s name and malflng address
      1DM I
                                                                             As of the petition liii nfl date, the claim Is:
                                                                             Check all fhaf apply.
                                                                                                                                 ~1628.52
                                                                             U Conlingeni
     490 White Pond            Drive
     ______________________________________________________
                                                                             U  untiquidated
                                                                             U Disputed
     Akron, OH 44320                                                                                Services rendered
                                                                             Bails for the claim: ________________________
     Date or dates debtwes incurred                 Oct. 2016                IsI the
                                                                                   Nociaim subject to offset?
     Last 4 dIgits of account number                                         0    Yes




   Officlat ~orm 206E/F                              Scheduie ElF; Creditors Who Have Unsecured Claims                                                   page   —   of,~.,
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  Debtor         Wonderwork, Inc.
                ________________________________________________________                             Case number (U)        16—13607 (MKV)
                N•o~s


i~m~r.      Additional Page

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  prevIous page. If no additional NONPRiOR1TY creditors exist, do not liii out or submit this page.                             Amount of claim


I~E1 Joseph Muuianey
     Nonpriority creditor’s name and mailing address                      As ofthe petition till ng date, the claim is:
                                                                          Check all that apply.                               ~11 0,750.00
                                                                          C Contingent
                                                                          C Unliquldatad
      512 River Road                                                      C Disputed
                                                                          C Liquidated and neither contingent nor
      Westport, MA 02790
     ____________________________________________________________________    disputed
                                                                          Basis for the claim: Loan
     Date or dates debt was incurred              Aug. 2013                is the claim subject to offset?
                                                                           I No
     Last 4 digits of account number                                       C Ye,

     Nonprlority creditor’s name and mailing address
                                                                           As of the petition flit ng date, the claim is:     ~8259.03
     Kaplan Kravet & Vogel P.C.                                            Check all that apply.
                                                                           C   Contingent
     630 Third Avenue, 5th Floor                                           o   Llnliquidated
                                                                           C   Disputed
     New York, NY       10017
                                                                           Basis for the claim;    ServiCes rendered
    Date or dates debt was Incurred               Dec. 201 6               is the claim subject to offset?
    Last 4 digits of account number
                                                                           I No
                                                     —                     C Yes

    Nonpriority creditor’s name and mailing address
                                                                           As oftho petition filing date, tho claim is:       ~8,500.00
     Koala Design                                                          Check all that apply.
                                                                           C   Contingent
     Attn: Mike Schell 1606 NE 1st St.                                     C   Unliquidated
                                                                           C   Disputed
     Fort Lauderdale, FL 33301
                                                                           80515 for the claim:    Services rendered
    Date or dates debt was incurred              DeC. 2016                 is the claim subject to alfset?
                                                                           I Na
    Last 4 digits of account number             ——                         C Yes
    Nonpriority creditor’s name and maiiing address
     L&E Meridian
                                                                           As of the petition nil ng date, the claim is:
                                                                           Check all that apply.
                                                                                                                              ~1359.48
                                                                           C   Contingeni
     8000 Corporate Court                                                  C   Unitquidated
                                                                           C   Disputed
    Springfield, VA 22153
                                                                           Basis fortho claim:     Services
    Date or dates debt was Incurred              Oct. 2016                 is the ciaim subject to offset?
                                                                           I No
    Last 4 dIgit, of account number             — — ——                     C Yes

    Nonpriority creditor’s name and mailing address
    Log-On
                                                                          As of the petition nil ng date, the claim is:
                                                                          Check all that apply.
                                                                                                                              ~48,538.28
                                                                           C   Contingent
    520 Eighth Avenue, 14 Fl.                                              C   Unilquidated
                                                                           C   Disputed
    New York,    NY 10018
                                                                          Basis forum claim:       Services rendered
    Date or dates debt was incurred              Sept. 2016               is the claim subject to offset?
                                                                          I No
    Last 4 digits of account number                                       C Yes



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  Debtor         WonderWork, Inc.                                                               Casenumber0,,1          16-1 3607 (MKV)
                Ns~~~e


 Irma       Additional Page

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  previous page. If no additional NONPRIORIrY creditors exist, do not fill out or submit this page.                          Amount of ctalni


     Nonprtorlty creditor’s name and mailing address                 As of the petition flit ng date, the claim Is:
      MDI Imaging and Mall                                            Check all that apply.                               ~4657.64
                                                                     C       Contingent
                                                                     C       Unhquidated
      21955 Cascades Parkway                                         C       Disputed
                                                                     U       Liquidated and neither contingent nor
      Duites, VA  20166
     ____________________________________________________________________    disputed
                                                                          Basis for the claim: Services rendered
     Date or dates debt was incurred           Oct. 2016             i~ the claim subject to offset?
                                                                     • No
     Last 4 digits of account number                                 C    Yes

     Nonpriority creditor’s name and mailing address
                                                                     As of the petition fill ng date, the claim is:       ~524,833.33
     Meadowlark Foundation                                           Check all that apply.
                                                                     U Contingent
     PC Box 860                                                      O Untiquidated
                                                                     U Disputed
     Saratoga Springs, NY 12866
                                                                     Basis for the claim:     Loan
     Date or dates debt was Incurred          Jan. 2014              is the claim subject to offset?
     Last 4 digits of account number
                                                                     I   No
                                              —— ——
                                                                     U   Yes


Li Nestle Pure Life Direct
    Nonpriority creditor’s name and mailing address
                                                                     As ofthe petition Siting date, the claim is:
                                                                     Check all that apply.
                                                                                                                          ,22.33
                                                                     C ccntingent
     PC Box 856192                                                   C Untquidated
                                                                     U Disputed
     Louisvitie, KY 40285
                                                                     Basis forthe claim:      Office supplies
    Date or dates debt was incurred           Dec. 2016              is the claim subject to offset?
                                                                     • No
    Last 4 digits of account number                                  U Yes
    Nonpriority creditor’s name and mailing address
     Nextiva
                                                                    As of the petition filing date, the claim is:
                                                                    Check at that apply.
                                                                                                                           527.56
                                                                    C con~ngent
     8800 E Chaparrel Rd. Ste 300                                   O untiquidatod
                                                                    C Disputed
     Scotisdate, AZ 85250
                                                                    Basis for the claim:      Utilities
    Date ordates debt was incurred            Nov. 2016             is the claim subject to offset?
                                                                    • No
    Last 4 digits of account number                                 C Yes

    Nonpriority creditor’, name and me fling address
                                                                    As of the petition   nit rig date   the claim is:     ~2165.80
    Resource One                                                    Check all that apply.
                                                                    C Ccnttngent
    2900 E. Apache                                                  C untiquidated
                                                                    O Disputed
    Tulsa, 01< 74116
                                                                    Basis for the claim: Services           rendered
   Date or dates debt was Incurred            Nov. 2016             lathe claim subject to offset?
   Last 4 digits of account number
                                                                    I    No
                                                                    U Yes




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    Debtor          WonderWork, Inc.                                                                   Case nurnberwknawni   16—13607 (MKV)

•Pfl)c       Additional Page


    Copy this page only If more space Is neoded, Continue numbering the lines sequentially from the                               Amount of claim
    previous page. If no additional NONPRIORITY creditors exist, do not fill out or submit this page.

3      Nonprlority creditor’s name and mailing address                    As of the petition filing date, the claim is          43 05
        Skyline Credit Ride, Inc                                          Chock all that apply                                 $______________
                                                                          U Contingent
                                                                          U Unhquidated
        52-29 35th St                                                     ~    Dispuied
                                                                          U Liquidated and neither contingent nor
        Long Island City, NY 11101                                             disputed
                                                                          Basis for the claim         Services rendered
       Date or dates debt was incurred          2016                      is the claim subject to offset?
                                                                          • No
       Last 4 digits of account number                                    U Yes

~‘NonpHorfleandmathng address                                             A    nh         LII    Wi               I    is       120~~                  —-   -


       The Holewinsk Group                                                Check all that apply                                 $_____________________
                                                                          U   Contingent
       253 Rainbow Drive #15398                                           8   Ur~qiwdated
       Livingston, TX 77399                                               Basis for the claim         Services rendered

       Date or dales debt was Incurred          Nov 2016                  is the claim subject to offset?
                                                                          • No
       Last4 digits of account number                                     U Yes

       Nonpriority creditor’s name and mailing address
                                                                         As of the petition filing date, the claim is           60 083.33
       The Raphael & Diana Vinoly Foundation                              Check all that apply                                 $_____________________
                                                                          U   Contingent
       350 Fifth Avenue, 41 Fl.                                           8   Un~         ted
       New York, NY 10118
                                                                          Basis for the claim         Loan
      Date or dates debt was incurred           Sept 2013                is the claim subject to offset?
                                                                         • No
      Last 4 digits of account number                                    U Yes
~Nonpriothycredflo?snam;andrnallIng;ddross               -                     fh~;~~                                           7,979,166.67
       Thompson Family Foundation                                        Check all that apply                                  $_____________________

                                                                         U Contingent
       do Kevin Maclay                                                   8 Unhqrndated
       One Thomas circle, NW, Ste 1100, Washington, DC 20005
                                                                         Basis for the claim’          oan
      Data or dates debt was Incurred          May 2013                  is the claim subject to offset?
                                                                         • No
      Last 4 digits of account number                                    U Yes

      Non dority     eth;?s name and maWng address                                                                              2841 32
      Tn-State Envelope Corp.                                            Check alIthat apply                                   $______________________

                                                                         U    Contingent
       on    o
       i ~.‘ iJOX
                    A 22
                    ‘t%hJ
                                                                         U
                                                                         U    Uniiquidated
                                                                              Disputed
       Beitviiie, MD 20704                                               Basis for the claim’         Services rendered

      Date or dates debt was incurred          Nov. 2016                 is the claim subject to offset?
                                                                         • No
      Last 4 digits of account number                                    U Yes



    Offlciai Form 208E1F                         Schedule    EIF~   creditors Who Have Unsecured claims                                             page — ~
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      Copy this page only If more space Is needed. Continue numbering the lines sequentially from the                      Amount of claim
      previous page. if no additional NONPRIORITY creçiitors exist, do not fill out or submit this page.      -




 3.      Nonpilority creditors name and mailing address                 As of the petition filing date, the claim is:     3171 06
         Union ID and MaN                                               Checkall !hat apply.                            $______________
                                                                        U   Contingent
                                                                        U   Untiquidated
          8516 Rainswood Drive                                          U   D~puted
                                                                        U   Liquidated and neither contingent nor
          Landover, MD 20765                                                disputed
                                                                        Basis for the claim: Services rendered

         Date or dates debt was incurred         Nov. 2016              is the claim subject to offset?
                                                                         I NO
         Last 4 dIgits of account number                                U Yes


~NonpriorIty credftors name and maWng address                          As oflhe pethion flung dat: the calm h:           196713
         Valtim Marketing Solutions                                    Checkall that apply.                             $____________________________
                                                                        U Contingent
         PC Box 809                                                    U Unflqukiated
          Forest, VA 24551                                             Basis for the claim: Services rendered


        Date or dates debt was incurred          Oct. 2016             Is the claim subject to offset?
                                                                       ) No
        Last 4 digits of account number                                U Yes


3J Nonpriority creditors name and mailing address                      As of the pelition filing date, the claim is:     452.50
         Wells Fargo Financial Leasing                                 Check all that apply.                            $_____________________
                                                                       U Contingent
         P0 Box 10306                                                  U UrdiquWated
         Des Moines, IA 50308                                                               r-’ ‘

                                                                       Basis for the claim: ~~0pi~ 1..ease
        Date or dates debt was incurred         Dec. 2013              is the claim subject to offset?
                                                                       INo
        Last 4 digits of account number                                U Yes

3. — Nonpriority creditor’s
                   .   ,    name and mailing address                   As of the petition
                                                                                      .   filing date, the claim is:     76.32
         XPO     Logistics                                             Check all that apply.                            $____________________________

                                                                       U    Contingent
         PD Box 2693                                                   U Untquidated
         New York, NY                                                  Basis for the claim: Services rendered


        Date or dates debt was incurred         Nov. 2016              is the claim subject to offset?
                                                                       S No
        Last 4 digits of account number                                U Yes


        Nonpriority creditors name and mailing address
                                                                       As of the petition filing date, (he claim Is:
                                                                       Check all that apply.
                                                                   U Contingent
                                                                   U Uniiquidated
        __________________________________________________________ U Disputed

                                                                       Basis for the ciaim:    _____________________


        Date or dates debt was incurred                                is (he claim subject to offset?
        Last 4 digits of account number
                                                                       UU   No
                                                                            Yes




      Official Form 2OGEIF                        Schedule ElF: Creditors Who Have Unsecured claims                                          page   —   of_
           16-13607-smb                    Doc 76        Filed 03/10/17 Entered 03/10/17 17:47:35                                           Main Document
                                                                      Pg 10 of 12
        Debtor          WonderWork, Inc.                                                                   Case number   thrown)_16’I 3607 (MKV)
                       Nan,n



 1fl1’                 List Others to Be Notified About Unsecured Claims


 4.      List In alphabetical order any others who must be notified for claims listed In Parts I and 2. Examples of entities that may be listed are collection agencies,
         assignees of claims listed above, and attorneys for unsecured creditcrs.
        If no others need to be notified for the debts listed In Parts I and 2 do not fill out or submit this page. If additional pages are needed, copy the next page.


                 Name and mailing address                                                         On which line in Part I or Part 2 Is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

 4.1,                                                                                            Line

                                                                                                 U      Not listed. Explain


 4.2.                                                                                            Line

                                                                                                 U      Not listed. Explain


 4.3.                                                                                            Line

                                                                                                 U      Not listed. Explain                        — — — —




4.4.                                                                                             Line

                                                                                                 U      Not listed. Explain                        — — — —




41.                                                                                              Line

                                                                                                 U      Not listed. Explain                        — — — —




4.5.                                                                                             Line
                                                                                                 U      Not listed. Explain                        — — — —




4.6.                                                                                             Line

                                                                                                 U      Not listed. Explain                        — — — —




4.7.                                                                                             LIne
                                                                                                 U      Not listed. Explain                        — — — —




4.8.                                                                                             LIne
                                                                                                 U      Not listed. Explain                        ... — ...... —




4.9.                                                                                             Line
                                                                                                 U      Not listed. Explain                        — — — —




4,10.                                                                                            Line
                                                                                                 U      Not listed. Explain                        — — — —




4.11.
                                                                                                Line
                                                                                                 U      Not listed. Explain




        Official Form 206E/F                             Schedule ElF: Creditors Who Have Unsecured Claims                                                   page_of_
         16-13607-smb                    Doc 76   Filed 03/10/17 Entered 03/10/17 17:47:35                                       Main Document
                                                               Pg 11 of 12
      Debtor          WonderWork, Inc.
                                                                                            Case number (i/known)_16-13607 (MKV)
                      Ne,i.


 •P1ilcm Additional Page for Others to Be Notified About Unsecured Claims



           Name and mailing address                                                On which line  in Part I or Part 2 is       the    Last 4   digits of
                                                                                   related creditor (if any) listed?                  account number,
                                                                                                                                      if any
 4.                                                                               Line

                                                                                   LI    Not listed.     Explain   _____________




4
                                                                                  Line

                                                                                  LI     Not   listed. Explain                        — — — —




4.                                                                                Line

                                                                                  LI     Not   listed, Explain                        .—. — — —




4.                                                                                Line

                                                                                  LI     Not listed.     Explain                      — — — —




                                                                                  Line

                                                                                  LI     Not   listed. Explain                        — — — —




4.                                                                                Line

                                                                                  LI     Not   listed. Explain                        — — — —




                                                                                  Line

                                                                                  LI     Not listed.     Explain   _____________




                                                                                  Line

                                                                                  LI     Not   listed.   Explain                         — — —




                                                                                  Line
                                                                                  LI     Not   listed. Explain                        — — — —




                                                                                  Line

                                                                                  LI     Not listed.     Explain                      — — — —




                                                                                  Line

                                                                                  LI     Not listed, Explain                          — — — —




                                                                                  Line

                                                                                  LI     Not listed. Explain                          — — — —




                                                                                  Line
                                                                                  LI     Not listed. Explain       ________________




                                                                                 Line

                                                                                  LI     Not   listed. Explain




      Official Form   2OBEIF                      Schedule ElF: Creditors Who Have Unsecured Claims                                              page _of_
    16-13607-smb                  Doc 76            Filed 03/10/17 Entered 03/10/17 17:47:35                                Main Document
                                                                 Pg 12 of 12
  Debtor        WonderWork, Inc.
               ____________________________________________________________________
                                                                                                               16-13607 (MKV)
                                                                                          Case number tdktowot______________________________________
                Name



• ~FTt       Total Amounts of the Priority and Nonpriority Unsecured Claims


 5. Add the amounts of priority and nonpriority unsecured claims.




                                                                                                                    Total of claim amounts


5a. Total claims from Part 1                                                                           Se.          S______________________



Sb. Total claims from Part 2                                                                          Sb.    +        26,556,513.06
                                                                                                                    $____________________________




Sc. Total of Parts land 2                                                                                            26,556,513.06
    Lines Sa ÷ Sb Sc.                                                                                Sc             $____________________________




 Official Form 2062/F                              Schedule ElF: Creditors Who Have Unsecured Claims                                          page     —   of
